 Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 1 of 32 Page ID
                                 #:17561


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12
                                  UNITED STATES DISTRICT COURT
13

14                              CENTRAL DISTRICT OF CALIFORNIA

15
     IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (JEMx)
16   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION                      NFL DEFENDANTS’
17                                             MEMORANDUM IN OPPOSITION
     ______________________________            TO PLAINTIFFS’ MOTION FOR
18                                             CLASS CERTIFICATION
19                                             Judge: Hon. Philip S. Gutierrez
     THIS DOCUMENT RELATES TO
20   ALL ACTIONS
                                               Date: January 13, 2023
21                                             Time: 1:30 p.m.
                                               Courtroom:
22
                                                      First Street Courthouse
23                                                    350 West 1st Street
                                                      Courtroom 6A
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                                                      Los Angeles, CA 90012
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      Case No. 2:15-ml-02668-PSG (JEMx)              NFL DEFENDANTS’ MEMORANDUM IN
                                                     OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                     CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 2 of 32 Page ID
                                #:17562


 1                                            TABLE OF CONTENTS
 2   INTRODUCTION ...................................................................................................... 1
 3   BACKGROUND ........................................................................................................ 3
 4   I.       The Existing Broadcast Structure Of NFL Games........................................... 3
 5   II.      Plaintiffs’ Claims And Proposed Classes. ........................................................ 5
 6   III.     Plaintiffs’ Support For Certification. ............................................................... 6
 7   LEGAL STANDARD ................................................................................................ 9
 8   ARGUMENT ............................................................................................................ 10
 9   I.       The Court Should Reject Plaintiffs’ Gerrymandered Class. .......................... 10
10   II.      Plaintiffs’ Damages Classes Cannot Be Certified Under Rule 23(b)(3)........ 12
11            A.       Plaintiffs Have Not Offered An Admissible Economic Model. .......... 13
12            B.       Even if Plaintiffs’ Models Were Admissible, Plaintiffs Still
13                     Could Not Prove Injury Through Common Evidence. ........................ 14
14            C.       Plaintiffs’ Cannot Prove Damages Through Valid, Class-Wide
15                     Evidence. .............................................................................................. 20
16            D.       Plaintiffs Cannot Satisfy Rule 23(b)(3)’s Superiority Requirement. .. 21
17   III.     Plaintiffs Cannot Satisfy Rule 23(a)’s Requirements of Commonality,
18            Typicality, or Adequacy. ................................................................................ 22
19   IV.      Certification of the Commercial Class Is Improper Because Plaintiffs
20            Do Not Even Try To Satisfy Rule 23. ............................................................ 23
21   V.       Certification Under Rule 23(b)(2) Is Improper. ............................................. 24
22   CONCLUSION......................................................................................................... 25
23

24

25

26

27

28
                                                                  i
      Case No. 2:15-ml-02668-PSG (JEMx)                                     NFL DEFENDANTS’ MEMORANDUM IN
                                                                            OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                            CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 3 of 32 Page ID
                                #:17563


 1                                         TABLE OF AUTHORITIES
 2   Cases                                                                                                      Page(s)
 3   Allied Orthopedic Appliances, Inc. v. Tyco Healthcare Grp., L.P.,
 4           247 F.R.D. 156 (C.D. Cal. 2007) ................................................................... 23
 5   Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal.,
 6           190 F.3d 1051 (9th Cir. 1999) ........................................................................ 19
 7   Amchem Prods., Inc. v. Windsor,
 8           521 U.S. 591 (1997) ....................................................................................... 12
 9   Atl. Richfield Co. v. USA Petroleum Co.,
10           495 U.S. 328 (1990) ....................................................................................... 19
11   Barnes v. Am. Tobacco Co.,
12           161 F.3d 127 (3d Cir. 1998) ........................................................................... 24
13   Bell Atl. Corp. v. AT&T Corp.,
14           339 F.3d 294 (5th Cir. 2003) .......................................................................... 23
15   Bowerman v. Field Asset Servs., Inc.,
16           39 F.4th 652 (9th Cir. 2022) ........................................................................... 21
17   Comcast v. Behrend,
18           569 U.S. 27 (2013) ............................................................................. 13, 20, 21
19   E. Tex. Motor Freight Sys., Inc. v. Rodriguez,
20           431 U.S. 395 (1977) ....................................................................................... 22
21   Gen. Tel. Co. of Sw. v. Falcon,
22           457 U.S. 147 (1982) ................................................................................. 10, 22
23   Halliburton Co. v. Erica P. John Fund, Inc.,
24           573 U.S. 258 (2014) ......................................................................................... 9
25   Hanon v. Dataproducts Corp.,
26           976 F.2d 497 (9th Cir. 1992) .......................................................................... 23
27   In re Asacol Antitrust Litig.,
28           907 F.3d 42 (1st Cir. 2018) ..................................................................... passim
                                                                ii
       Case No. 2:15-ml-02668-PSG (JEMx)                                  NFL DEFENDANTS’ MEMORANDUM IN
                                                                          OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                          CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 4 of 32 Page ID
                                #:17564


 1   In re Bextra & Celebrex Mktg. Sales Practices & Prod. Liab. Litig.,
 2           524 F. Supp. 2d 1166 (N.D. Cal. 2007) ......................................................... 14
 3   In re Graphics Processing Units Antitrust Litig.,
 4           253 F.R.D. 478 (N.D. Cal. 2008) ................................................................... 14
 5   In re High-Tech Emp. Antitrust Litig.,
 6           289 F.R.D. 555 (N.D. Cal. 2013) ................................................................... 12
 7   In re Hydrogen Peroxide Antitrust Litig.,
 8           552 F.3d 305 (3d Cir. 2008) ............................................................... 10, 12, 13
 9   In re Intel Corp. Microprocessor Antitrust Litig.,
10           2014 WL 6601941 (D. Del. 2014) ................................................................. 19
11   In re Lamictal Direct Purchaser Antitrust Litig.,
12           957 F.3d 184 (3d Cir. 2020) ........................................................................... 14
13   In re Rail Freight Fuel Surcharge Antitrust Litig. (Rail Freight I),
14           725 F.3d 244 (D.C. Cir. 2013) ............................................................ 1, 12, 13
15   In re Rail Freight Fuel Surcharge Antitrust Litig. (Rail Freight II),
16           934 F.3d 619 (D.C. Cir. 2019) ................................................................ passim
17   In re St. Jude Med., Inc.,
18           425 F.3d 1116 (8th Cir. 2005) ........................................................................ 24
19   Kamm v. California City Dev. Co.,
20           509 F.2d 205 (9th Cir. 1975) .......................................................................... 12
21   Katz v. Carte Blanche Corp.,
22           496 F.2d 747 (3d Cir. 1974) ........................................................................... 12
23   L.A. Mem’l Coliseum Comm’n v. Nat’l Football League,
24           791 F.2d 1356 (9th Cir. 1986) ........................................................................ 19
25   Lara v. First Nat’l Ins. Co. of Am.,
26           25 F.4th 1134 (9th Cir. 2022) ................................................................... 13, 22
27   Laumann v. National Hockey League,
28           117 F. Supp. 3d 299 (S.D.N.Y. 2015) ............................................................ 13
                                                             iii
       Case No. 2:15-ml-02668-PSG (JEMx)                               NFL DEFENDANTS’ MEMORANDUM IN
                                                                       OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                       CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 5 of 32 Page ID
                                #:17565


 1   Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
 2           475 U.S. 574 (1986) ....................................................................................... 19
 3   Ohio v. Am. Express Co.,
 4           138 S. Ct. 2274 (2018) ................................................................................... 10
 5   Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC,
 6           31 F.4th 651 (9th Cir. 2022) ......................................................... 10, 12, 13, 20
 7   Pickett v. Iowa Beef Processors,
 8           209 F.3d 1276 (11th Cir. 2000) ...................................................................... 23
 9   Rebel Oil Co. v. Atl. Richfield Co.,
10           51 F.3d 1421 (9th Cir. 1995) .......................................................................... 21
11   Senne v. Kansas City Royals Baseball Corp.,
12           934 F.3d 918 (9th Cir. 2019) .......................................................................... 25
13   Smith v. Univ. of Wash. L. Sch.,
14           233 F.3d 1188 (9th Cir. 2000) ........................................................................ 25
15   Steering Comm. v. Exxon Mobil Corp.,
16           461 F.3d 598 (5th Cir. 2006) .......................................................................... 21
17   Thorn v. Jefferson-Pilot Life Ins. Co.,
18           445 F.3d 311 (4th Cir. 2006) .......................................................................... 25
19   TransUnion LLC v. Ramirez,
20           141 S. Ct. 2190 (2021) ................................................................................... 19
21   Tyson Foods, Inc. v. Bouaphakeo,
22           577 U.S. 442 (2016) ....................................................................................... 18
23   Valley Drug,
24           350 F.3d 1181 (11th Cir. 2003) ..................................................................... 23
25   Wal-Mart Stores, Inc. v. Dukes,
26           564 U.S. 338 (2011) ............................................................................. 9, 22, 25
27   Wang v. Chinese Daily News, Inc.,
28           737 F.3d 538 (9th Cir. 2013) .................................................................... 10, 12
                                                               iv
       Case No. 2:15-ml-02668-PSG (JEMx)                                 NFL DEFENDANTS’ MEMORANDUM IN
                                                                         OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                         CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 6 of 32 Page ID
                                #:17566


 1   Ward v. Apple Inc.,
 2            2018 WL 934544 (N.D. Cal. 2018)................................................................ 13
 3   Statutes
 4   15 U.S.C. § 1291..................................................................................................... 3, 4
 5   Rules
 6   Fed. R. Civ. P. 23(b)(3)(D) ....................................................................................... 21
 7   Fed. R. Civ. P. 23(c)(1)(B) ....................................................................................... 10
 8   Rule 23 ............................................................................................................... passim
 9

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       Case No. 2:15-ml-02668-PSG (JEMx)                                      NFL DEFENDANTS’ MEMORANDUM IN
                                                                              OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                              CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 7 of 32 Page ID
                                #:17567


 1                                         INTRODUCTION
 2           Plaintiffs framed this case as an antitrust challenge to NFL Sunday Ticket.
 3   That product, created by the NFL and distributed exclusively by DirecTV,
 4   supplements the NFL’s extensive offerings on free television by allowing football
 5   fans across the country to watch every Sunday afternoon NFL game. But Plaintiffs’
 6   motion for class certification makes clear that their ambitions are much broader.
 7   They seek to upend the NFL’s entire media model, which allows every person in
 8   America to receive up to five football games for free every Sunday, through contracts
 9   Congress has exempted from antitrust scrutiny. Plaintiffs’ far-reaching legal theory
10   cannot be coherently evaluated on a class-wide basis, for several reasons.
11           First, Plaintiffs ask this Court to certify improper classes. At the merits stage,
12   Plaintiffs would have to prove that the agreements they are challenging cause class-
13   wide antitrust injury in a relevant market. Here, Plaintiffs claim that the relevant
14   market is the market for all NFL telecasts. But they seek to represent only a fraction
15   of Sunday Ticket subscribers composing
16            . Plaintiffs then propose damages models in which some (but not all) of their
17   gerrymandered class would be benefited by making everyone else in the market pay
18   more. Plaintiffs identify no precedent, and Defendants are aware of none, suggesting
19   that this kind of forced wealth transfer is a valid theory of antitrust class certification.
20   The Court should accordingly reject the proposed class.
21           Second, Plaintiffs’ damages classes cannot be certified because fairly resolving
22   their claims requires individualized determinations of injury and damages that defeat
23   Rule 23(b)(3)’s predominance and superiority requirements. Courts in antitrust class
24   actions require a valid economic model supporting certification: “No damages model,
25   no predominance, no class certification.” In re Rail Freight Fuel Surcharge Antitrust
26   Litig. (Rail Freight I), 725 F.3d 244, 253 (D.C. Cir. 2013). As explained in
27   Defendants’ accompanying motions to exclude Plaintiffs’ experts, there is no valid
28   model in this case and thus no basis for certifying the class.
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       Case No. 2:15-ml-02668-PSG (JEMx)                  NFL DEFENDANTS’ MEMORANDUM IN
                                                          OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                          CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 8 of 32 Page ID
                                #:17568


 1           Certification is improper even if the experts’ testimony were admitted.
 2   Plaintiffs posit fundamentally different approaches to distributing NFL games in so-
 3   called “but-for worlds” where the media distribution agreements at issue here do not
 4   exist. It is impossible to know whether individual class members would be better or
 5   worse off under those approaches without evaluating their specific circumstances.
 6   Because it would be necessary to hear evidence from “[millions] of class members”
 7   to fairly adjudicate the case, Rule 23(b)(3) prohibits certification. In re Rail Freight
 8   Fuel Surcharge Antitrust Litig. (Rail Freight II), 934 F.3d 619, 627 (D.C. Cir. 2019)
 9   (quoting In re Asacol Antitrust Litig., 907 F.3d 42, 57–58 (1st Cir. 2018)).
10           Third, Plaintiffs’ inability to establish class-wide proof of injury and damages
11   also means that they cannot satisfy Rule 23(a)’s requirements of commonality,
12   typicality, and adequacy. Because there is no common injury, there is no common
13   question that drives the resolution of the litigation, and no typical plaintiff. And the
14   inherent conflict between class members who would be better off and those who
15   would be worse off in Plaintiffs’ theoretical but-for worlds means the named
16   plaintiffs cannot fairly represent the class as a whole.
17           Fourth, while Plaintiffs seek to represent separate classes of residential and
18   commercial purchasers, they essentially disregard the commercial class. The two
19   proposed classes feature different consumers with different interests who paid
20   different prices. But every one of Plaintiffs’ experts failed to analyze the commercial
21   class with any rigor. Plaintiffs’ decision to lump the two classes together, and ignore
22   the commercial class, reveals the slapdash reasoning underlying their models and
23   undercuts their Rule 23 arguments as to both classes.
24           Finally, Plaintiffs cannot obtain certification of an injunctive class under Rule
25   23(b)(2). The claim for injunctive relief will be moot by the time this case is resolved
26   because the current Sunday Ticket distribution agreement expires at the end of this
27   season. And because the class includes both current and former subscribers, the
28   injunction will not benefit every class member, as required by law.
                                                  2
       Case No. 2:15-ml-02668-PSG (JEMx)                 NFL DEFENDANTS’ MEMORANDUM IN
                                                         OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                         CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 9 of 32 Page ID
                                #:17569


 1              The Court should deny the motion for class certification.1
 2                                            BACKGROUND
 3   I.         The Existing Broadcast Structure Of NFL Games.
 4              Each year, the NFL and its 32 member clubs jointly produce a series of over
 5   250 professional football games culminating in the Super Bowl. Expert Report of
 6   Daniel A. Rascher, Dkt. 633-4, ¶¶ 34, 37–38 (“Rascher Report”). Most regular-
 7   season NFL games are played on Sunday afternoons beginning about 1 p.m. and 4
 8   p.m. ET. Israel Report ¶ 49. Those games are available on free broadcast television
 9   (in other words, with just a television and antenna). Id. A series of business
10   agreements make this possible. First, all NFL clubs have assigned to the League the
11   right to distribute telecasts of their games. Id. ¶ 144. Second, the NFL has entered
12   licensing agreements with CBS and Fox granting these networks rights to distribute
13   every Sunday afternoon regular-season game. Kilaru Decl. Ex. 4 (Transcript of
14   Deposition of Brent Lawton 37:6–12). As a result of those agreements, consumers
15   get access to every single one of their local club’s (or clubs’) games for free. More
16   broadly, every location in the country is guaranteed to have available access to three
17   or four regular season games for free every Sunday afternoon. Israel Report ¶ 49.
18              These two sets of agreements—(1) between the NFL and the clubs and (2)
19   between the NFL and CBS and Fox—are exempt from antitrust scrutiny. The Sports
20   Broadcasting Act, 15 U.S.C. § 1291, provides that “[t]he antitrust laws . . . shall not
21   apply to any joint agreement by or among persons in or conducting the organized
22   professional team sport[] of football . . . by which any league of clubs participating
23   in professional football . . . sells or otherwise transfers all or any part of the rights of
24              1
             To aid the Court in its evaluation of this opposition (and the accompanying
25   motions to exclude Plaintiffs’ experts), the NFL Defendants have submitted three
     expert reports, from Dr. Mark Israel (an economist), see Kilaru Decl. Ex. 1 (Expert
26
     Report of Mark Israel) (“Israel Report”); Dr. Nancy Mathiowetz (a survey expert),
27   see Kilaru Decl. Ex. 2 (Expert Report of Nancy Mathiowetz) (“Mathiowetz Report”);
28
     and Dr. Ali Yurukoglu (an economist), see Kilaru Decl. Ex. 3 (Expert Report of Ali)
     (“Yurukoglu Report”).
                                                    3
          Case No. 2:15-ml-02668-PSG (JEMx)                NFL DEFENDANTS’ MEMORANDUM IN
                                                           OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                           CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 10 of 32 Page ID
                                 #:17570


  1   such league’s member clubs in the sponsored telecasting of the games of
  2   football . . . .” Because the agreements described above are “joint agreement[s] by
  3   or among [the NFL clubs] . . . by which [the NFL] . . . sells or otherwise transfers all
  4   or any part of the rights of such league’s member clubs in the sponsored telecasting
  5   of the games of football,” they are covered by the SBA. See id.
  6           To provide fans throughout the country with the opportunity to access even
  7   more live Sunday afternoon telecasts,
  8

  9                 See Kilaru Decl. Ex. 5 (Transcript of Deposition of Frank Hawkins 171:6–
 10   25); Kilaru Decl. Ex. 6 (Transcript of Deposition of Paul Tagliabue 80:4–6). In this
 11   arrangement, the NFL licenses to DirectTV the right to distribute the copyrighted
 12   broadcast “feeds” from the Sunday afternoon games produced by CBS and Fox to
 13   consumers. Kilaru Decl. Ex. 7 (Transcript of Deposition of Brian Rolapp 100:10–
 14   13).
 15                Kilaru Decl. Ex. 8 (Transcript of Deposition of Chris Lauricella 15:22–
 16   16:5) (“Lauricella Tr.”).
 17                                         . Kilaru Decl. Ex. 9 (Transcript of Deposition of Steve
 18   Bornstein 244:17–25) (“Bornstein Tr.”).                Sunday Ticket is also available to
 19   commercial establishments that cater to fans who want to be able to see every Sunday
 20   afternoon NFL game. Kilaru Decl. Ex. 10 (Transcript of Mucky Duck 30(b)(6)
 21   Deposition Witness Jason Baker 33:23–34).
 22           Sunday Ticket pricing varies from subscriber to subscriber. Most consumers
 23   get Sunday Ticket as an add-on to a satellite subscription, but some consumers are
 24   eligible to buy a standalone streaming version of Sunday Ticket.                         Rascher
 25   Report ¶ 262.
 26                                                                                           . Kilaru
 27   Decl. Ex. 11 (Transcript of DirecTV 30(b)(6) Deposition Witness James Dyckes
 28   29:7–33:10) (“Dyckes 30(b)(6) Tr.”).
                                                         4
        Case No. 2:15-ml-02668-PSG (JEMx)                       NFL DEFENDANTS’ MEMORANDUM IN
                                                                OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 11 of 32 Page ID
                                 #:17571


  1           For example,
  2                                                                 . Id. at 30:6–16. Other
  3   customers, including named residential plaintiffs,
  4                                                          . Kilaru Decl. Ex. 12 (Transcript
  5   of Deposition of Jonathan Frantz 102:16–103:18) (“Frantz Tr.”); Dyckes 30(b)(6) Tr.
  6   32:12–33:10. On the commercial side,
  7

  8

  9           The NFL’s distribution arrangements have made it the most widely watched
 10   sport in America. Rascher Report ¶ 118.
 11                                                                                  . Bornstein
 12   Tr. 235:19–237:16. It is undisputed that the NFL has the
 13                                                                               Id.
 14   II.     Plaintiffs’ Claims And Proposed Classes.
 15           Plaintiffs here challenge (1) the agreements between the clubs and the NFL,
 16   (2) the agreements between the NFL and CBS/Fox, and (3) the agreements between
 17   the NFL and DirecTV for Sunday Ticket—even though the first two sets of
 18   agreements are largely exempt from antitrust scrutiny and ensure the broad
 19   availability of NFL games for free. Plaintiffs claim all three agreements operate in
 20   concert to inflate the price of Sunday Ticket and make it less accessible to consumers.
 21           Plaintiffs seek to represent two classes: “residential subscribers to DirecTV
 22   that purchased the NFL Sunday Ticket package since June 17, 2011” and
 23   “commercial subscribers that bought the package during the same period.”
 24   Memorandum In Support Of Plaintiffs’ Motion for Class Certification, Dkt. 633-1,
 25   at 1 (“Memo ISO Class Certification”). The class definitions exclude Sunday Ticket
 26   subscribers who did not also obtain satellite service (i.e., subscribers to the standalone
 27   streaming versions of Sunday Ticket), as well as anyone who received Sunday Ticket
 28   without ever paying for it, as part of a promotion by DirecTV. Id. at 1 n.1, 16 n.24.
                                                   5
        Case No. 2:15-ml-02668-PSG (JEMx)                 NFL DEFENDANTS’ MEMORANDUM IN
                                                          OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                          CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 12 of 32 Page ID
                                 #:17572


  1   III.    Plaintiffs’ Support For Certification.
  2           Plaintiffs’ expert witnesses. Plaintiffs’ motion for class certification depends
  3   on the testimony of three expert witnesses. The first is Dr. J. Douglas Zona, an
  4   economist. Dr. Zona used data produced by DirecTV to calculate the amount of
  5   money that class members spent on Sunday Ticket. Expert Report of J. Douglas
  6   Zona, Dkt. 633-3 ¶¶ 29–30 (“Zona Report”). He then prepared a series of economic
  7   models that attempt to predict the prices that class members would have paid absent
  8   Defendants’ alleged violation of the antitrust laws. See generally id. ¶¶ 67–83.
  9           One of Dr. Zona’s models is based on a survey conducted by Ms. Sarah Butler,
 10   Plaintiffs’ second expert. Id. ¶¶ 83–84. Ms. Butler surveyed 975 consumers to
 11   determine their preferences among a series of hypothetical alternative packages of
 12   “out-of-market” football games. Expert Report of Sarah Butler, Dkt. 633-2 ¶¶ 8, 66
 13   (“Butler Report”); Kilaru Decl. Ex. 13 (Transcript of Deposition of Sarah Butler
 14   119:22–121:19). Ms. Butler invented these packages, which do not include Sunday
 15   Ticket itself. Id. at 119:16–121:19, 122:3–123:14.
 16

 17                                                                                              .
 18   Mathiowetz Report ¶ 33.
 19           Plaintiffs’ third expert is Dr. Daniel Rascher, another economist. Dr. Rascher
 20   opines that every issue in this case can be resolved by class-wide proof, including the
 21   critical issues of antitrust injury and damages. Rascher Report ¶ 13. The way Dr.
 22   Rascher claims to meet that standard is by setting out three different “but-for worlds”
 23   (described below) in which certain of the agreements challenged here are prohibited.
 24   See id. ¶¶ 28–29. Dr. Rascher asserts that in each of these worlds, every single class
 25   member would be better off. Id. ¶ 226. He then claims
 26

 27

 28              See Kilaru Decl. Ex. 14 (Transcript of Deposition of Daniel A. Rascher
                                                   6
        Case No. 2:15-ml-02668-PSG (JEMx)                 NFL DEFENDANTS’ MEMORANDUM IN
                                                          OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                          CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 13 of 32 Page ID
                                 #:17573


  1   56:19–57:10, 66:12–67:8) (“Rascher Tr.”). He calls each percentage discount a
  2   “reduction factor.” Rascher Report ¶ 9.
  3           Despite being an economist, Dr. Rascher does no economic modeling to
  4   support his claims. Instead, he bases these but-for worlds on his own review of a
  5   limited portion of the evidence in this case, his views on economic theory, and
  6   uncritical use of numbers from Dr. Zona’s expert report.
  7           Plaintiffs’ but-for worlds.         Dr. Rascher’s three but-for worlds are the
  8   foundation of Plaintiffs’ effort to obtain class certification. Each reflects significant
  9   assumptions about how the NFL, its member clubs, broadcasters, other media
 10   providers, and consumers would act absent some or all of the challenged conduct.
 11           The College Football But-For World.
 12                                         , see generally Rascher Tr. 169:24–171:22, but on Dr.
 13   Rascher’s analogy to the way college football telecasts are distributed in America.
 14   Dr. Rascher posits that absent the agreements challenged in this case, either
 15

 16                                           . Id. at 178:22–179:16. Dr. Rascher opines that the
 17

 18                                                                     . Id. at 167:15–22. At his
 19   deposition,
 20

 21

 22

 23                   Id. at 26:15–37:20; see Rascher Report App’x B.
 24           Dr. Rascher also clarified that in this but-for world, each
 25                                                             . Rascher Tr. 193:9–14, 202:14–
 26   17. Today, if the Los Angeles Rams played the Seattle Seahawks, a full telecast of
 27   that game would be available for free on Fox in Los Angeles, Seattle, and any other
 28   areas where Fox chooses to distribute it, and otherwise available on Sunday Ticket.
                                                        7
        Case No. 2:15-ml-02668-PSG (JEMx)                     NFL DEFENDANTS’ MEMORANDUM IN
                                                              OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                              CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 14 of 32 Page ID
                                 #:17574


  1   See id. at 205:20–23. In this but-for world, the Rams-Seahawks game would be
  2   available                                                                        . Id. 95:3–97:17,
  3   105:2–10.
  4                                                            . Id. As a result,
  5

  6

  7                                                               Id. at 223:6–11.
  8

  9                                            Id. at 202:6–9.
 10           Ultimately, Dr. Rascher concludes that all amounts paid by class members for
 11   Sunday Ticket (                        ) constitute an overcharge in this but-for world, because
 12   he asserts that all Sunday afternoon football games would have been available for no
 13   additional fee as part of the basic cable package class members purchased from
 14   DirecTV. Rascher Report ¶ 286. To make his model more “conservative,” Dr.
 15   Rascher factors in an adjustment to the cost of a basic cable subscription. Id. ¶ 261.
 16

 17                      ,” Rascher Tr. 80:10, Dr. Rascher predicts that
 18                                         . Rascher Report ¶ 261. He arrives at that conclusion by
 19   simply dividing the current yearly rights fee for Sunday Ticket by the number of
 20   cable and satellite subscribers in America. Id. Dr. Rascher thus predicts that every
 21   consumer would have paid                            for Sunday Ticket in this but-for world,
 22   yielding overall damages of                              (pre-trebling). Id. As applied to the
 23   residential named Plaintiffs, this methodology suggests they would have paid
 24   (Frantz) and           (Lippincott) for access to a large quantity of what Dr. Rascher called
 25                               Rascher Tr. 56:23–57:6 (Frantz), 59:18–24 (Lippincott).
 26           The Non-Pooling But-For World. Plaintiffs’ second but-for world is one in
 27   which each NFL club would distribute games directly to consumers, and each club
 28   may also individually license to DirecTV the exclusive rights to bundle its games
                                                           8
        Case No. 2:15-ml-02668-PSG (JEMx)                           NFL DEFENDANTS’ MEMORANDUM IN
                                                                    OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                    CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 15 of 32 Page ID
                                 #:17575


  1   with other games. One of Dr. Zona’s models suggests that in this world, DirecTV
  2   would respond to competition from individual clubs by providing the bundle to every
  3   satellite subscriber—even those with no interest in it—and increasing subscriber fees
  4   for everyone by                       . Zona Report ¶ 81. Dr. Zona thus concludes that all
  5   class members would have received a discount of                         in this scenario (the
  6   difference between the list price for residential Sunday Ticket and             ). Id. ¶ 82. Dr.
  7   Rascher’s damages calculation for this world relies entirely on Dr. Zona’s work. He
  8   simply multiplies class members’ total purchases of Sunday Ticket by                            to
  9   generate damages of                      (pre-trebling). Rascher Report ¶ 283.
 10           The Non-Exclusive But-For World. In this final but-for world, Plaintiffs
 11   imagine that the NFL would make Sunday Ticket, and potentially some narrower
 12   packages of games, available to multiple different distributors. Id. ¶ 31. This but-
 13   for world stems from an analogy to the way out-of-market games are distributed by
 14   Major League Baseball and the National Basketball Association—
 15

 16                                                                                                    .
 17   Israel Report ¶¶ 202, 245–46. Here too, Dr. Rascher’s damages calculation is entirely
 18   dependent on Dr. Zona’s work. He averages together reduction factors generated by
 19   several of Dr. Zona’s models, concluding that all class members would receive a
 20                              See Clarification of and Addendum to Rascher Report, Dkt. 663-
 21   2, ¶ 16. He then multiplies class members’ total purchases of Sunday Ticket by that
 22   percentage, yielding damages of                       (pre-trebling). Id.
 23                                         LEGAL STANDARD
 24           A “party seeking class certification must affirmatively demonstrate his
 25   compliance” with Rule 23. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350
 26   (2011). Plaintiffs “must actually prove—not simply plead—that their proposed class
 27   satisfies each requirement of Rule 23.” Halliburton Co. v. Erica P. John Fund, Inc.,
 28   573 U.S. 258, 275 (2014). Plaintiffs must establish that proof by a preponderance of
                                                        9
        Case No. 2:15-ml-02668-PSG (JEMx)                      NFL DEFENDANTS’ MEMORANDUM IN
                                                               OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                               CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 16 of 32 Page ID
                                 #:17576


  1   the evidence. Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31
  2   F.4th 651, 665 (9th Cir. 2022) (en banc), petition for cert. filed sub. nom., StarKist
  3   Co. v. Olean Wholesale Grocery Cooperative, Inc., No. 22-131 (Aug. 10, 2022). The
  4   district court must undertake “a rigorous analysis” before certifying a class. Gen.
  5   Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 161 (1982). In assessing whether Plaintiffs
  6   have carried their burden, the Court must resolve “all factual or legal disputes
  7   relevant to class certification, even if they overlap with the merits—including
  8   disputes touching on elements of the cause of action.” In re Hydrogen Peroxide
  9   Antitrust Litig., 552 F.3d 305, 307 (3d Cir. 2008).
 10                                               ARGUMENT
 11   I.         The Court Should Reject Plaintiffs’ Gerrymandered Class.
 12              Before certifying a class, the Court “must define the class.” Fed. R. Civ. P.
 13   23(c)(1)(B). It is Plaintiffs’ burden to propose a class definition and show that Rule
 14   23’s requirements are satisfied, but courts retain inherent authority to police the class
 15   definition. See Wang v. Chinese Daily News, Inc., 737 F.3d 538, 546 (9th Cir. 2013).
 16              Plaintiffs’ class certification motion fails because their proposed classes are
 17   fundamentally inconsistent with their theory of antitrust liability. Plaintiffs identify
 18   the relevant product market in this case as “live video presentations of regular season
 19   NFL games.” Rascher Report ¶ 130 n.152.
 20

 21

 22

 23                                            See Rascher Tr. 75:6–11 (
 24                                                                ). To prevail on their antitrust
 25   claim, Plaintiffs must prove injury to competition in this market. Ohio v. Am. Express
 26   Co., 138 S. Ct. 2274, 2284 (2018) (under rule of reason framework, “plaintiff has the
 27   initial burden to prove that the challenged restraint has a substantial anticompetitive
 28   effect that harms consumers in the relevant market”) (emphasis added).
                                                         10
           Case No. 2:15-ml-02668-PSG (JEMx)                    NFL DEFENDANTS’ MEMORANDUM IN
                                                                OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 17 of 32 Page ID
                                 #:17577


  1           Plaintiffs’ class definition, and their efforts to show common injury and
  2   damages to their proposed class, cannot be reconciled with their eventual burden of
  3   showing overall harm to competition in their much broader proposed market. Their
  4   class is much narrower than the group of consumers in their proposed market: The
  5   Sunday Ticket subscribers they seek to represent are
  6                                         . Compare Zona Report ¶ 28 (
  7               ) with Israel Report ¶ 194 (
  8

  9                   ). And the but-for worlds Plaintiffs propose would make many of those
 10   subscribers,                                                                               , worse
 11   off. The record evidence uniformly establishes that
 12

 13                                                . See, e.g., Kilaru Decl. Ex. 15 (Transcript of
 14   Deposition of Fox Witness Larry Jones 46:6–7); Kilaru Decl. Ex. 16 (Transcript of
 15   Deposition of CBS Witness Sean McManus 42:24–43:3). Each of Plaintiffs’ but-for
 16   worlds disrupts that exclusivity, harming the hundreds of millions of market
 17   participants who currently enjoy those high-quality telecasts available for free.
 18   Absent market participants would be worse off in the but-for worlds in other ways,
 19   too. As one example, Plaintiffs’ damages model for the Non-Pooling But-For World
 20

 21                                                         . Rascher Tr. 11:17–25. That results in
 22

 23                                    . See Zona Report at 14, Ex. 3.
 24           Defendants are aware of no authority (and Plaintiffs cite none) approving class
 25   treatment in this extreme circumstance—where Plaintiffs seek certification based on
 26   theories that concededly would harm the vast majority of consumers in their proposed
 27   relevant market, while seeking to represent a small minority they claim would be
 28   better off.       To be clear, because Plaintiffs’ approach appears unprecedented,
                                                           11
        Case No. 2:15-ml-02668-PSG (JEMx)                        NFL DEFENDANTS’ MEMORANDUM IN
                                                                 OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                 CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 18 of 32 Page ID
                                 #:17578


  1   Defendants are also unaware of any authority rejecting such an approach. But Rule
  2   23 “stems from equity practice,” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 613
  3   (1997), and Rule 23(b)(3) classes are appropriate only when certification can avoid
  4   “sacrificing procedural fairness or bringing about other undesirable results,” Fed. R.
  5   Civ. P. 23(b)(3) advisory committee’s note to 1966 amendment. The decision of a
  6   court as to whether to certify a Rule 23(b)(3) class “must ‘take into account several
  7   different interests,’” including the interests of “‘the public at large.’” Kamm v.
  8   California City Dev. Co., 509 F.2d 205, 212 (9th Cir. 1975) (quoting Katz v. Carte
  9   Blanche Corp., 496 F.2d 747, 760 (3d Cir. 1974)). And courts have the authority to
 10   prevent abuses of the class action device, see Wang, 737 F.3d at 546; Olean, 31 F.4th
 11   at 669 (prohibiting use of a “‘fail safe’ class that is defined to include only those
 12   individuals who were injured by the allegedly unlawful conduct”).
 13           Accordingly, the Court should reject Plaintiffs’ proposed classes.
 14   II.     Plaintiffs’ Damages Classes Cannot Be Certified Under Rule 23(b)(3).
 15           To obtain certification of damages classes under Rule 23(b)(3), Plaintiffs must
 16   show that “questions of law or fact common to class members predominate over any
 17   questions affecting only individual members.” As the Ninth Circuit and others have
 18   recognized, the gateway to meeting this burden in an antitrust case is establishing
 19   reliable class-wide evidence of antitrust injury and damages. Olean, 31 F.4th at 666;
 20   see also Rail Freight I, 725 F.3d at 252; In re High-Tech Emp. Antitrust Litig., 289
 21   F.R.D. 555, 566 (N.D. Cal. 2013) (collecting cases).
 22           Common proof of injury and damages matters because otherwise, a trier of
 23   fact would have to evaluate each individual plaintiff. “In antitrust cases, impact often
 24   is critically important for the purpose of evaluating Rule 23(b)(3)’s predominance
 25   requirement because it is an element of the claim that may call for individual, as
 26   opposed to common, proof.” Hydrogen Peroxide, 552 F.3d at 311. If “figuring out
 27   whether each individual putative class member was harmed would involve an inquiry
 28
                                                  12
        Case No. 2:15-ml-02668-PSG (JEMx)                NFL DEFENDANTS’ MEMORANDUM IN
                                                         OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                         CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 19 of 32 Page ID
                                 #:17579


  1   specific to that person,” common issues do not predominate. Lara v. First Nat’l Ins.
  2   Co. of Am., 25 F.4th 1134, 1139 (9th Cir. 2022).
  3           A.       Plaintiffs Have Not Offered An Admissible Economic Model.
  4           Establishing class-wide injury and damages through common proof requires a
  5   reliable economic model. Comcast v. Behrend, 569 U.S. 27, 35 (2013). “No
  6   damages model, no predominance, no class certification.” Rail Freight I, 725 F.3d
  7   at 253; see also Ward v. Apple Inc., 2018 WL 934544, at *3 (N.D. Cal. 2018)
  8   (“Absent a data-driven model, plaintiffs have failed to meet their burden under Rule
  9   23.”) (cleaned up). In evaluating such models, the court must “‘weigh[] conflicting
 10   expert testimony’ and ‘resolv[e] expert disputes,’ where necessary to ensure that Rule
 11   23(b)(3)’s requirements are met.”       Olean, 31 F.4th at 666 (quoting Hydrogen
 12   Peroxide, 552 F.3d at 323–24) (brackets omitted). Such weighing “is not only
 13   permissible; it may be integral to the rigorous analysis Rule 23 demands.” Hydrogen
 14   Peroxide, 552 F.3d at 323.
 15           Plaintiffs have not satisfied this requirement. As explained in greater depth in
 16   Defendants’ Rule 702 motions, none of Plaintiffs’ expert testimony is admissible.
 17   But the central issue for this motion is that Dr. Zona’s models are unreliable, and he
 18   is the only expert who has tried to generate the kind of quantitative model of the but-
 19   for world that is required for certification. Defendants’ Rule 702 brief lays out the
 20   reasons in full, but the key points are as follows:
 21      • Dr. Zona’s model generates
 22                                          Yurukoglu Report ¶ 44. Specifically, his model
 23

 24                                                                        . Id. In Laumann v.
 25           National Hockey League, 117 F. Supp. 3d 299 (S.D.N.Y. 2015), the district
 26           court excluded a damages model, proffered by some of the Plaintiffs’ attorneys
 27           here, that generated similarly nonsensical results, id. at 319, and denied
 28           certification of a damages class. The same result is warranted here.
                                                  13
        Case No. 2:15-ml-02668-PSG (JEMx)                   NFL DEFENDANTS’ MEMORANDUM IN
                                                            OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                            CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 20 of 32 Page ID
                                 #:17580


  1      • Dr. Zona’s primary model is
  2                                                    . Yurukoglu Report ¶ 20. Such basic
  3           methodological flaws require exclusion under Daubert.
  4      • Dr. Zona’s models
  5                                         id. ¶¶ 53–64; this type of cherry-picking is a classic
  6           ground for exclusion. See In re Bextra & Celebrex Mktg. Sales Practices &
  7           Prod. Liab. Litig., 524 F. Supp. 2d 1166, 1176 (N.D. Cal. 2007).
  8           Without Dr. Zona, Plaintiffs cannot even purport to establish injury on a class-
  9   wide basis. Two of Plaintiffs’ but-for worlds necessarily fail, and they have not even
 10   tried to show that the remaining one is the most likely to occur. See In re Lamictal
 11   Direct Purchaser Antitrust Litig., 957 F.3d 184, 193–94 (3d Cir. 2020). Further, Dr.
 12   Rascher’s testimony supporting that world is independently inadmissible under Rule
 13   702. It is also insufficient, because conclusions based solely on documentary
 14   evidence and economic theory standing alone cannot support class certification. See,
 15   e.g., Rail Freight III, 934 F.3d at 626 (rejecting “documentary evidence” and
 16   economic theory as insufficient to prove that all class members “must have been
 17   harmed”); In re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478, 496
 18   (N.D. Cal. 2008) (rejecting experts’ contention that “‘economic theory dictates’”
 19   finding of class-wide injury). In sum, no model means no certification.
 20           B.       Even if Plaintiffs’ Models Were Admissible, Plaintiffs Still Could
 21                    Not Prove Injury Through Common Evidence.
 22           Even if Plaintiffs’ models were deemed admissible, Plaintiffs could not carry
 23   their burden under Rule 23. Plaintiffs’ fundamental problem is that, even under the
 24   economic models put forward, it remains impossible to determine whether each
 25   individual class member suffered injury without examining facts unique to that
 26   individual. See, e.g., Rail Freight II, 934 F.3d at 624–27 (rejecting certification
 27   where it was necessary to hear evidence specific to “thousands of class members”
 28   (citation omitted)); Asacol, 907 F.3d at 57–58. That is because numerous class
                                                      14
        Case No. 2:15-ml-02668-PSG (JEMx)                     NFL DEFENDANTS’ MEMORANDUM IN
                                                              OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                              CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 21 of 32 Page ID
                                 #:17581


  1   members would actually be worse off in each of Plaintiffs’ but-for worlds, and it is
  2   impossible to identify them without having individual mini-trials.
  3            In the College Football But-For World, the following types of class members
  4   would be worse off, and could be identified only through individualized inquiries:
  5            Consumers who “cut the cord” during the class period. One of the core
  6   features of this but-for world is that each Sunday afternoon game is available on only
  7   one channel, with several games not available on free broadcast television anywhere.
  8   As Dr. Rascher admitted at his deposition,
  9

 10                                                                             . Rascher Tr.
 11   194:3–14. If that local team’s games moved to a cable channel, the class member
 12   would have to purchase DirecTV or cable service, with the cheapest DirecTV tier
 13   costing $900/year, and cable and other satellite providers potentially costing more
 14   (see Rascher Report Ex. 3). This concern is not hypothetical. This model is built on
 15   an analogy to college football,
 16                                                                    Bornstein Tr. 241:19–
 17   242:2.
 18                                              See Israel Report ¶ 113, Table 7.
 19            Consumers whose favorite teams’ games move to premium cable channels.
 20   Dr. Rascher admitted that in this but-for world, some games might move to channels,
 21   like FS2 or CBSSN, that are not available in most basic cable packages. Rascher
 22   Report ¶ 250. On DirecTV, those channels are not available below the Ultimate
 23   service tier, which costs over $1,000 with first-year promotional pricing.
 24

 25                                                                               . See Israel
 26   Report ¶ 111; Rascher Tr. 200:5–11.
 27            Consumers whose favorite teams’ games move to regional sports networks.
 28   Dr. Rascher admitted
                                                 15
        Case No. 2:15-ml-02668-PSG (JEMx)               NFL DEFENDANTS’ MEMORANDUM IN
                                                        OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                        CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 22 of 32 Page ID
                                 #:17582


  1

  2                                         . Id. at 211:24–212:15. Dr. Rascher claimed that these
  3   networks would
  4

  5

  6

  7   Lauricella Tr. 57:4–16.
  8

  9

 10                              . Rascher Tr. 208:7–21; Lauricella Tr. 65–69 (
 11                                                  ).
 12           Consumers forced to switch to a different MVPD provider. Dr. Rascher failed
 13   to analyze the impacts to DirecTV of losing Sunday Ticket exclusivity. But as
 14   Defendants’ expert Dr. Mark Israel has shown,
 15                                                   . See Israel Report ¶ 130. A class member
 16   in those service areas could have been driven to a more expensive cable provider,
 17   injuring her. See Rascher Report at 49, Ex. 3 (variations in the cost of cable service
 18   in the real world vary up to $480/year, much more than the cost of Sunday Ticket).
 19           In the Non-Pooling But-For World, the following types of class members
 20   would be worse off, and again are identifiable only through individualized inquiries:
 21           Customers who want a bundle of all games. Many (but not all) class members
 22   subscribed to Sunday Ticket to have access to all NFL games. As Dr. Rascher
 23   admitted as his deposition,
 24                                                                                     . Rascher Tr.
 25   99:13–15.
 26                                                                          . Id. at 242:18–243:3.
 27           Customers who cancelled Sunday Ticket during the class period but kept
 28   DirecTV thereafter. In this but-for world,
                                                          16
        Case No. 2:15-ml-02668-PSG (JEMx)                      NFL DEFENDANTS’ MEMORANDUM IN
                                                               OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                               CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 23 of 32 Page ID
                                 #:17583


  1

  2

  3                                         See Israel Report ¶ 113, Table 7.
  4           In the Non-Exclusivity But-For World, the following types of class members
  5   would have been worse off, again requiring individual inquiries:
  6           Class members who got Sunday Ticket for free.
  7

  8

  9                     Id. ¶ 56. Dr. Rascher admitted
 10                                                                                                        .
 11   Rascher Tr. 126:22–127:20.
 12                                                             . See Israel Report ¶ 111.
 13           Class members who got other discounts. Some class members, including the
 14   named residential plaintiffs,
 15   Frantz Tr. 93:21–94:8. Dr. Rascher admitted
 16

 17

 18                                                              Rascher Tr. 133:8–17. More broadly,
 19

 20

 21                                                                       . See id. at 127:4–20, 133:3–
 22   134:1; Israel Report ¶¶ 58, 75–77.
 23           These examples of unharmed class members are illustrative, not exhaustive,
 24   and they are not mutually exclusive. As Dr. Israel has detailed,
 25

 26

 27                                          . See id. ¶ 178.
 28
                                                          17
        Case No. 2:15-ml-02668-PSG (JEMx)                           NFL DEFENDANTS’ MEMORANDUM IN
                                                                    OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                                    CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 24 of 32 Page ID
                                 #:17584


  1           The need to conduct individualized inquiries would not just be limited to
  2   pocketbook injury.
  3

  4

  5                                                                                . Id. ¶¶ 153,
  6   163–178, 204–210, 216–217.
  7                                                        . Id. ¶¶ 250–256.
  8           Under the Rules Enabling Act and the Constitution, a class action is a
  9   procedural device that cannot change substantive rights.           In other words, an
 10   individual whose claim would have failed for lack of injury if brought individually
 11   cannot recover simply because he or she is a member of a class. And if a defendant
 12   can defeat an individual’s claim with proof specific to that individual, the defendant
 13   has the same right to do so in a class action. See, e.g., Tyson Foods, Inc. v.
 14   Bouaphakeo, 577 U.S. 442, 458 (2016) (noting that it would violate the Rules
 15   Enabling Act to give “plaintiffs and defendants different rights in a class proceeding
 16   than they could have asserted in an individual action”); Rail Freight II, 934 F.3d at
 17   625 (denying certification where defendants had due process and Seventh
 18   Amendment rights to present all “colorable” defenses at trial and “intend[ed] to
 19   contest” injury to numerous class members); Asacol, 907 F.3d at 52–53, 58 (similar).
 20           Imagining how the issues described above play out in a hypothetical individual
 21   case underscores why class certification is improper. In Jane Smith’s individual
 22   lawsuit, her trial plan would be to present Plaintiffs’ generalized model to support
 23   the assertion that she was harmed. Defendants would be entitled to take discovery
 24   of a host of issues, including what teams she likes, how much she paid for Sunday
 25   Ticket and satellite service, what discounts she received, what purchases she would
 26   need to make in the but-for world to access the NFL games she wants, how much
 27   more she would have to pay for the football games that she currently watches for
 28   free, how her viewing patterns would change, and how much she enjoys the quality
                                                 18
        Case No. 2:15-ml-02668-PSG (JEMx)                NFL DEFENDANTS’ MEMORANDUM IN
                                                         OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                         CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 25 of 32 Page ID
                                 #:17585


  1   of NFL broadcasts and the competitive balance of the league. If discovery suggested
  2   (for example) that Ms. Smith’s favorite team would be broadcast on a premium
  3   channel that costs more to access than Sunday Ticket, Defendants would have a
  4   constitutional right to present that evidence. To fairly adjudicate the claims of the
  5   class, it would be necessary to answer these same questions through evidence from
  6   “[millions] of class members.” Rail Freight II, 934 F.3d at 624–27 (citation omitted).
  7           Plaintiffs cannot avoid these problems by claiming that they need show only a
  8   single year’s overcharge to establish antitrust standing. They have asserted an
  9   eleven-year class period, and if a class member would have paid more in the but-for
 10   world than the real world during that period, that class member has not suffered
 11   antitrust injury. See Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1056
 12   (9th Cir. 1999) (“There can be no antitrust injury if the plaintiff stands to gain from
 13   the alleged unlawful conduct.”); see also, e.g., Atl. Richfield Co. v. USA Petroleum
 14   Co., 495 U.S. 328, 336–37 (1990) (plaintiff suffered no antitrust injury because it
 15   “was benefited rather than harmed” if its allegations were true) (emphasis in original);
 16   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 582–83 (1986)
 17   (“Respondents cannot recover antitrust damages” when they “stand to gain” from the
 18   alleged conspiracy); L.A. Mem’l Coliseum Comm’n v. Nat’l Football League, 791
 19   F.2d 1356, 1367 (9th Cir. 1986) (“An antitrust plaintiff may recover only to the ‘net’
 20   extent of its injury . . . .”); In re Intel Corp. Microprocessor Antitrust Litig., 2014 WL
 21   6601941, at *13 (D. Del. 2014) (denying class certification where plaintiffs failed to
 22   offer common proof “that any benefits received by certain purchasers as a result of
 23   [the challenged conduct] are exceeded by the overcharges”); cf. TransUnion LLC v.
 24   Ramirez, 141 S. Ct. 2190, 2208 (2021).
 25           In short, even if Plaintiffs could prove that some class members paid higher
 26   prices during part of the class period, they would need to establish that their alleged
 27   injury was not offset by other benefits the same class members received over the
 28   entire class period (such as lower prices on their satellite bill at other times).
                                                   19
        Case No. 2:15-ml-02668-PSG (JEMx)                  NFL DEFENDANTS’ MEMORANDUM IN
                                                           OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                           CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 26 of 32 Page ID
                                 #:17586


  1           Certification is also improper given the sheer number of uninjured class
  2   members. While Olean rejected a per se rule prohibiting class certification where
  3   more than a de minimis number of class members are uninjured, 31 F.4th at 669 n.13,
  4   it endorsed the results in Rail Freight and Asacol and held that a “fatally overbroad”
  5   class cannot be certified, id. at 670 n.14. More broadly, Olean’s bottom-line holding
  6   does not apply here, because Defendants here have challenged the expert models at
  7   issue under Rule 702, id. at 665; “raise[d] individualized questions regarding which
  8   [class] members . . . suffered an injury,” id. at 681; and argued that the complexity
  9   of damages inquiries defeats predominance, id.; see infra 20–21. Plaintiffs’ counsel
 10   in Olean—also Plaintiffs’ counsel here—have admitted that Olean’s holding does
 11   not mean that Plaintiffs can establish predominance simply by bringing forward
 12   purported common proof. Br. in Opp., StarKist Co. v. Olean Wholesale Grocery
 13   Cooperative, Inc., No. 22–131, at 24 (Oct. 11, 2022). Where, as here, Defendants
 14   offer countervailing individualized evidence that is plausible, certification is barred.
 15   See Rail Freight II, 934 F.3d at 624–25; Asacol, 907 F.3d at 55.
 16           For these reasons, Plaintiffs cannot establish antitrust impact on a class-wide
 17   basis, defeating certification under Rule 23(b)(3).
 18           C.       Plaintiffs’ Cannot Prove Damages Through Valid, Class-Wide
 19                    Evidence.
 20           The need for individualized damages determinations independently defeats
 21   predominance. An initial problem is that Plaintiffs’ models suffer from a critical
 22   conceptual flaw. Plaintiffs have imagined alternate worlds in which the NFL changes
 23   its entire distribution model, including by terminating the agreements protected from
 24   antitrust scrutiny by the SBA that ensure the widespread free broadcast of Sunday
 25   afternoon games. See supra at 3–4. By offering these models, plaintiffs contravene
 26   Comcast, which held that plaintiffs cannot rely on a model that “identifies damages
 27   that are not the result of the wrong.” 569 U.S. at 37. A model comparing the real
 28   world with a but-for world in which the NFL stops allegedly unlawful conduct and
                                                  20
        Case No. 2:15-ml-02668-PSG (JEMx)                NFL DEFENDANTS’ MEMORANDUM IN
                                                         OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                         CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 27 of 32 Page ID
                                 #:17587


  1   unquestionably lawful conduct—viz., the broadcasts protected by the SBA—cannot
  2   identify damages that result from just the unlawful conduct. See id.; see also, e.g.,
  3   Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1433 (9th Cir. 1995). This point
  4   underscores one of the central inadequacies with Plaintiffs’ theories—they would
  5   cause many class (and market) members to pay more.
  6           Even putting that problem aside, Plaintiffs cannot reliably establish damages
  7   with class-wide proof. As the Ninth Circuit recently made clear in a post-Olean
  8   decision, the need for individualized damages determinations can be a ground for
  9   denying certification under Rule 23(b)(3) where damages cannot be ascertained
 10   “without excessive difficulty.” Bowerman v. Field Asset Servs., Inc., 39 F.4th 652,
 11   663 (9th Cir. 2022); see also, e.g., Steering Comm. v. Exxon Mobil Corp., 461 F.3d
 12   598, 602 (5th Cir. 2006) (“[W]here individual damages cannot be determined by
 13   reference to a mathematical or formulaic calculation, the damages issue may
 14   predominate over any common issues shared by the class.”).
 15           It is impossible to determine damages “without excessive difficulty.”
 16   Bowerman, 39 F.4th at 663. Multiplying Sunday Ticket prices by a uniform discount
 17   does not provide an accurate measure of damages. Instead, the Court would have to
 18   evaluate the host of complexities described above, in Jane Smith’s case, across
 19   millions of different class members. See supra at 18–19. Under any of Plaintiffs’
 20   theories, individualized damages issues would predominate, precluding certification.
 21           D.       Plaintiffs Cannot Satisfy Rule 23(b)(3)’s Superiority Requirement.
 22           For similar reasons, Plaintiffs cannot satisfy Rule 23(b)(3)’s requirement that
 23   “a class action is superior to other available methods for fairly and efficiently
 24   adjudicating the controversy.” One factor critical to the superiority inquiry is “the
 25   likely difficulties in managing a class action.” Fed. R. Civ. P. 23(b)(3)(D). Though
 26   plaintiffs recite that “there will be no difficulties in managing this consolidated
 27   proceeding as a class action,” Memo ISO Class Certification at 22, they offer no
 28   argument or reasoning in support of this claim. That omission speaks volumes. “[T]o
                                                  21
        Case No. 2:15-ml-02668-PSG (JEMx)                NFL DEFENDANTS’ MEMORANDUM IN
                                                         OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                         CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 28 of 32 Page ID
                                 #:17588


  1   determine whether a class certified for litigation will be manageable, the district court
  2   must at the time of certification offer a reasonable and workable plan” for how to
  3   address individual issues of inquiry and damages “in a manner that is protective of
  4   the defendant’s constitutional rights and does not cause individual inquiries to
  5   overwhelm common issues.” Asacol, 907 F.3d at 58. Certification must be denied
  6   where, as here, plaintiffs’ models have “plainly not enabled the district court to
  7   articulate such a plan.” Id.; see also Lara, 25 F.4th at 1140.
  8   III.    Plaintiffs Cannot Satisfy Rule 23(a)’s Requirements of Commonality,
  9           Typicality, or Adequacy.
 10           Plaintiffs’ deficiencies under Rule 23(b)(3) also preclude them from satisfying
 11   the separate requirements in Rule 23(a). That rule permits certification only where
 12   “there are questions of law or fact common to the class,” where the Plaintiffs’ claims
 13   are “typical of the claims . . . of the class,” and where the Plaintiffs “will fairly and
 14   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a). These three
 15   requirements “tend to merge” with each other, Gen. Tel. Co., 457 U.S. at 157 n.13,
 16   and here all three are absent for related reasons.
 17           Commonality. To establish commonality, Plaintiffs must show that common
 18   questions will “drive the resolution of the litigation.” Wal-Mart Stores, Inc. v. Dukes,
 19   564 U.S. 338, 350 (2011).             As explained above, Plaintiffs cannot meet that
 20   requirement because they cannot show that they suffered the same injury and
 21   damages as everyone else in the class. Under Plaintiffs’ theory and models, some
 22   class members might be better off, but others—perhaps far more—would likely be
 23   worse off, either losing content to which they currently have access or paying higher
 24   prices for that content. That means that class members do not all share “the same
 25   interest” and have not all “suffer[ed] the same injury.” E. Tex. Motor Freight Sys.,
 26   Inc. v. Rodriguez, 431 U.S. 395, 403 (1977).
 27           Typicality. “The test of typicality is whether other members have the same or
 28   similar injury, whether the action is based on conduct which is not unique to the
                                                    22
        Case No. 2:15-ml-02668-PSG (JEMx)                  NFL DEFENDANTS’ MEMORANDUM IN
                                                           OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                           CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 29 of 32 Page ID
                                 #:17589


  1   named plaintiffs, and whether other class members have been injured by the same
  2   course of conduct.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)
  3   (citation and quotation marks omitted). As explained, because class members do not
  4   share the “same or similar injury,” plaintiffs cannot establish that their claims are
  5   typical of those of the class. Id.
  6           Adequacy. “[A] class cannot be certified when its members have opposing
  7   interests or when it consists of members who benefit from the same acts alleged to
  8   be harmful to other members of the class.” Allied Orthopedic Appliances, Inc. v.
  9   Tyco Healthcare Grp., L.P., 247 F.R.D. 156, 177 (C.D. Cal. 2007) (quoting Pickett
 10   v. Iowa Beef Processors, 209 F.3d 1276, 1280 (11th Cir. 2000)); see also Valley
 11   Drug, 350 F.3d at 1193 (a “fundamental conflict” barring certification exists if “some
 12   party members claim to have been harmed by the same conduct that benefitted other
 13   members of the class”). Class members here do not merely have diverging interests.
 14   In many cases, they have opposing interests; in the but-for worlds, some class
 15   members would be harmed. See supra at 10–11.
 16           There are also conflicts between the classes. To give just one example of
 17   many, the residential class members may want easier access to out-of-market games,
 18   but that access might harm the commercial class members, both by allowing
 19   residential consumers to stay home, and allowing rivals to more easily access games
 20   that might draw customers. Plaintiffs cannot obtain certification where they do not
 21   even try to account for obvious differences among classes. See, e.g., Bell Atl. Corp.
 22   v. AT&T Corp., 339 F.3d 294, 307 (5th Cir. 2003).
 23   IV.     Certification Of The Commercial Class Is Improper Because Plaintiffs
 24           Do Not Even Try To Satisfy Rule 23.
 25           Plaintiffs’ failure to meaningfully address the proposed commercial precludes
 26   certification of that class and underscores the weakness of their motion as a whole.
 27           Plaintiffs’ experts acknowledge that there are material differences between
 28   commercial and residential consumers of Sunday Ticket.
                                                 23
        Case No. 2:15-ml-02668-PSG (JEMx)               NFL DEFENDANTS’ MEMORANDUM IN
                                                        OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                        CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 30 of 32 Page ID
                                 #:17590


  1                                                             . Rascher Tr. 69:9–20; Kilaru
  2   Decl. Ex. 17 (Transcript of DirecTV 30(b)(6) Deposition Witness Steve Priesand
  3   37:25–39:7).
  4

  5                                                                                . Id. at 69:21–
  6   70:22.
  7

  8

  9                                                          Israel Report ¶ 153; Kilaru Decl.
 10   Ex. 18 (Transcript of Gael Pub 30(b)(6) Deposition Witness Eugene Lennon 115:5–
 11   15) (“Gael Pub Tr.”) (
 12                                                                  ”). That variation means
 13   that many members of the proposed commercial class suffered no injury.
 14            Plaintiffs account for literally none of these differences. Dr. Rascher and Dr.
 15   Zona base their damages calculations solely on a
 16

 17                                         Yurukoglu Report ¶¶ 92–94. Nor do they analyze
 18   whether broader access to Sunday Ticket would harm the commercial establishments
 19   that chose to purchase it in the real world. In short, Plaintiffs make no serious effort
 20   to demonstrate the viability of their proposed commercial class, further undermining
 21   the models they seek to apply to both proposed classes.
 22   V.       Certification Under Rule 23(b)(2) Is Improper.
 23            As a fallback alternative to their Rule 23(b)(3) argument, Plaintiffs contend
 24   that class certification is appropriate under Rule 23(b)(2) because they seek
 25   injunctive relief. This argument fails for two reasons.2
 26
               2
               Some circuits have held that a class can be certified under Rule 23(b)(2) only
 27   if the class claims are “cohesive.” See, e.g., In re St. Jude Med., Inc., 425 F.3d 1116,
 28   1121 (8th Cir. 2005); Barnes v. Am. Tobacco Co., 161 F.3d 127, 143 (3d Cir. 1998).

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        Case No. 2:15-ml-02668-PSG (JEMx)                  NFL DEFENDANTS’ MEMORANDUM IN
                                                           OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                           CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 31 of 32 Page ID
                                 #:17591


  1           First, any injunctive relief will moot by the time this action is resolved, as the
  2   NFL’s exclusive agreement with DirecTV expires after the current 2022 season.
  3   Courts have consistently denied requests to certify classes under Rule 23(b)(2) where
  4   the plaintiffs’ claim for an injunction is moot. See, e.g., Smith v. Univ. of Wash. L.
  5   Sch., 233 F.3d 1188, 1195 (9th Cir. 2000), overruled on other grounds by Bd. of
  6   Trustees of Glazing Health & Welfare Tr. v. Chambers, 941 F.3d 1195 (9th Cir.
  7   2019); Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311, 331 (4th Cir. 2006).
  8           Second, Rule 23(b)(2) “applies only when a single injunction or declaratory
  9   judgment would provide relief to each member of the class.” Wal-Mart, 564 U.S. at
 10   360 (emphasis added). The key is whether the remedy sought is “indivisible”:
 11   whether “the conduct is such that it can be enjoined or declared unlawful only as to
 12   all of the class members or as to none of them.” Id. (internal quotation marks
 13   omitted).
 14                                                          . Kilaru Decl. Ex. 19 (Transcript
 15   of Deposition of Robert Lippincott 82:4–8); Frantz Tr. 38:12–13; Gael Pub Tr. 23:9–
 16   14. For these Plaintiffs, an injunction provides no relief; their claims are premised
 17   entirely on allegedly illegal conduct years in the past.          Plaintiffs’ demand for
 18   injunctive relief is thus not “indivisible.” Wal-Mart, 564 U.S. at 360.
 19                                         CONCLUSION
 20           For the reasons stated above, the Defendants respectfully request that
 21   Plaintiffs’ Motion for Class Certification be denied.
 22

 23

 24

 25
      The Ninth Circuit, however, has rejected a cohesiveness requirement. See Senne v.
 26
      Kansas City Royals Baseball Corp., 934 F.3d 918, 937 (9th Cir. 2019). Were the
 27   Ninth Circuit or the Supreme Court to recognize a cohesiveness requirement,
 28
      plaintiffs’ motion for class certification would also fail on that ground for the same
      reasons why plaintiffs cannot succeed under Rule 23(b)(3).
                                                   25
        Case No. 2:15-ml-02668-PSG (JEMx)                  NFL DEFENDANTS’ MEMORANDUM IN
                                                           OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                           CLASS CERTIFICATION
Case 2:15-ml-02668-PSG-SK Document 687-1 Filed 11/05/22 Page 32 of 32 Page ID
                                 #:17592


  1      Dated: November 4, 2022                Respectfully submitted.
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 28   filing’s content and have authorized the filing.

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        Case No. 2:15-ml-02668-PSG (JEMx)                 NFL DEFENDANTS’ MEMORANDUM IN
                                                          OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                          CLASS CERTIFICATION
